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My name is Meril Lara and I hereby declare as follows:


   1. I have personal knowledge of the matters stated herein and would testify to the same if

       called as a witness in Court.

   2. I am over eighteen years of age and am otherwise competent to testify.

   3. I currently live in Philadelphia County, Pennsylvania. My current address is 7136

       Oakland St, Philadelphia, PA 19149.

   4. I am a registered voter at my current address. I have been registered to vote and a regular

       voter for over 8 years now.

   5. I am 26 years old and identify as Hispanic.

   6. In the November 2020 general election, I originally completed and mailed to election

       officials in my county a mail ballot on approximately October 22 or 23, 2020.

   7. This ballot was cancelled or rejected because I failed to place it inside the secrecy

       envelope.

   8. I learned that this ballot was rejected because I received an email from elections officials

       stating that my ballot was missing a second envelope. I tried calling the number provided

       in the email a few times but didn’t get through to anyone.

   9. Worried that my vote would not be counted, on Election Day, I went to my local polling

       place at the Solis Cohen School at 7001 Horrocks Street, Philadelphia, PA 19149. I

       completed a provisional ballot there.

   10. Later, I saw on the Pennsylvania ballot tracking website that the status of my original

       ballot was updated to “cancelled.”
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11. I would be upset if my ballot were invalidated. I am a U.S. citizen. I pay taxes. A denial

   of my vote would tell me that I’m not an equal citizen of the United States, that my voice

   doesn’t matter. My vote should and must be counted.
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       The statements made in this Declaration are true and correct to the best of my knowledge,

information, and belief. I understand that false statements made herein are subject to the

penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities.




               Executed on November 8, 2020 in Philadelphia, Pennsylvania.


               __________________________________________
               Meril Lara
